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 1                                                                               Hon. Robert S. Lasnik
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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE
10
      UNITED STATES OF AMERICA,
11                                                                 NO. CR14-58RSL
                               Plaintiff,
12                                                                 ORDER CONTINUING TRIAL DATE
13                                                                 AND DEADLINE TO FILE
                          v.                                       PRETRIAL MOTIONS
14
15    RAUL ARAUJO-SOTO,
        a/k/a Raul Armendaris-Soto,
16
      GABRIEL CHAVEZ-AGUILAR,
17      a/k/a Oton Cervantes Zavala, and
      ANDRES ROA DOMINGUEZ,
18
19                             Defendants.
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21
             THE COURT, having considered the Stipulated Motion to Continue Trial Date
22
     and Deadline to File Pretrial Motions, any responses, filings, or memoranda related
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     thereto, defendants’ knowing and voluntary speedy trial waivers, and all the files and
24
     records herein, the Court finds as follows:
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             1.      The facts and circumstances are as set forth in the Stipulated Motion to
26
     Continue Trial Date and Deadline to File Pretrial Motions;
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28
     Order re: Stipulated Motion for Continuance/ARAUJO-SOTO et al. - 1               UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
     No. CR14-58RSL                                                                    SEATTLE, WASHINGTON 98101
                                                                                             (206) 553-7970
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 1           2.      Failure to grant a continuance in this case will deny counsel the reasonable
 2 time necessary for effective preparation of trial and other pretrial proceedings, taking into
 3 account the exercise of due diligence;
 4           3.      Failure to grant a continuance would likely result in a miscarriage of
 5 justice;
 6           4.      The ends of justice served by granting this continuance outweigh the best
 7 interest of the public and the defendants in a speedy trial;
 8           5.      All these findings are made within the meaning of 18 U.S.C.
 9 § 3161(h)(7)(A) and (B)(i),(ii) and (iv);
10           6.      The period of time from the filing date of the Stipulated Motion to
11 Continue Trial Date and Deadline to File Pretrial Motions until the new trial date, set
12 forth below, shall be excludable time pursuant to the Speedy Trial Act, 18 U.S.C.
13 § 3161(h)(7)(A).
14           IT IS THEREFORE ORDERED that:
15           1.      The trial date in this matter is continued to December 8, 2014.
16           2.      Pre-trial motions are due no later than October 10, 2014.
17           DONE this 9th day of April, 2014.
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19
20                                                             A
                                                               Robert S. Lasnik
21                                                             United States District Judge
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28
     Order re: Stipulated Motion for Continuance/ARAUJO-SOTO et al. - 2               UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
     No. CR14-58RSL                                                                    SEATTLE, WASHINGTON 98101
                                                                                             (206) 553-7970
